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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §   CASE NO. 1:09-CR-107(4)
                                                   §
 DAVID GARY TRAYLOR                                §

          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 United States Magistrate Judge Earl S. Hines made and filed Findings of Fact and

 Recommendations regarding defendant’s plea of guilty to Count I of the Second Superseding

 Indictment in the above-numbered case. The magistrate judge accepted defendant's guilty plea,

 recommends that defendant be adjudged guilty of the offense to which he pleaded guilty, and

 recommends that the court defer acceptance or rejection or defendant’s plea agreement until after

 reviewing the presentence report.

          The parties do not object to the magistrate judge’s findings and conclusions, and the court

 is of the opinion that they should be and are hereby ADOPTED. Further, the court RATIFIES

 the magistrate judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

          1.     Defendant is adjudged GUILTY of the offense alleged in Count I of the Second
                 Superseding Indictment, a violation of 21 U.S.C. § 846.

          2.   The court         accepts defendant’s plea agreement ✔ will defer a decision to
               accept or reject defendant’s plea agreement until the court reviews the presentence
          .    report.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 28th day of May, 2010.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
